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COUNSEL FOR RYAN NICHOLAS WEISS

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE                                       §
                                            §
RYAN NICHOLAS WEISS                         §              CASE NO. 21-31701-HDH
                                            §
        Debtor                              §              Chapter 11
                                            §

        DEBTOR RYAN NICHOLAS WEISS’ PLAN OF REORGANIZATION AND
                    DISCLOSURES CONTAINED HEREIN

        THIS PLAN IS SUBMITTED TO ALL NOTICING PARTIES AND
        CREDITORS OF THE DEBTOR ENTITLED TO VOTE ON THE PLAN OF
        REORGANIZATION AND CONTAINS INFORMATION THAT MAY AFFECT
        YOUR DECISION TO ACCEPT OR REJECT THE PLAN OF
        REORGANIZATION UNDER SUBCHAPTER V OF CHAPTER 11 OF THE
        UNITED STATES BANKRUPTCY CODE. THIS PLAN IS INTENDED TO
        PROVIDE ADEQUATE INFORMATION AND DISCLOSURES AS
        REQUIRED BY THE BANKRUPTCY CODE. ALL CREDITORS AND
        INTEREST HOLDERS ARE URGED TO READ THE PLAN AND
        DISCLOSURES CONTAINED HEREINWITH CARE. THE PLAN HAS NOT
        YET BEEN APPROVED BY THE COURT.

                                         ARTICLE I

                       INTRODUCTION AND SUMMARY OF PLAN

       Ryan Nicholas Weiss (the “Debtor”) is an individual who owns and operates a consulting
business, Flex Capital Investments, LLC (“Flex Capital”). Flex Capital previously operated a Buy
Here–Pay Here (“BHPH”) used car dealership that shut down primarily due to the COVID-19
pandemic and the resulting economic fallout. Most of the debts in the Plan stem from the debts
incurred and Debtor’s personal guarantees associated with the operations of the used car
dealership.

        Debtor has filed this Plan of Reorganization (the “Plan”) because, in Debtor’s view, no

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other feasible plan can be proposed to resolve the claims against the Debtor. The Plan provides
for structured payments to holders of Allowed Claims against the Debtor over a maximum five-
year period. In accordance with the Plan, Debtor will continue to operate Flex Capital.

                                           ARTICLE II

                                        BACKGROUND

A.     Debtor’s Bankruptcy Filing.

        On September 23, 2021, the Debtor filed a Voluntary Petition for relief under Chapter 11
of the United States Code (the “Bankruptcy Code”). Pursuant to 11 U.S.C. §101(51D), Debtor
elected to proceed under Subchapter V, which provides for the appointment of a trustee to assist
in, among other things, the development of a consensual plan, account for the debtor’s property,
and investigate the Debtor’s business. On September 28, 2021, Scott Seidel was appointed as the
Subchapter V Trustee.

        The Debtor’s bankruptcy filing was caused primarily by the COVID-19 pandemic and the
devastating impact on the business operations of the used car dealership. Debtor had personal
guarantees on most if not all of the liabilities of the used car dealership, and Debtor was unable to
perform on those guarantees. Due to these liabilities and the substantial loss of revenues further
described herein, Debtor filed and sought protection under the Bankruptcy Code to restructure his
obligations.

B.     Post-petition Operations.

       After Debtor filed this Chapter 11 Case, he has continued to operate and manage Flex
Capital.

C.     Debt Repayment and Restructuring.

       In general, the Plan proposes to pay the holders of Allowed Claims from income
generated from Flex Capital over a maximum five-year period.

        Debtor has prepared projections for the next five years, and those projections are attached
hereto as Exhibit A.

                                          ARTICLE III

                    NATURE AND STATUS OF DEBTOR’S BUSINESS

       Debtor is an individual who operates a consulting business under the name of Flex
Capital Investments, LLC. Under Flex Capital, Debtor works as a corporate finance/tax
consultant. Debtor is the sole member and 100% owner of Flex Capital.

       In addition to providing a vehicle for Debtor’s consulting work, Flex Capital is the sole


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member and 100% owner of Castle Hills Motors, LLC (“Castle Hills Motors”). Flex Capital is
also a 70% owner of Castle Hills Financing, LLC (“Castle Hills Financing”) and the managing
member. Neither Castle Hills Motors nor Castle Hills Financing are currently operating.
                                          ARTICLE IV

           HISTORY OF THE EVENTS LEADING UP TO BANKRUPTCY

       Debtor is a corporate finance/tax consultant. In addition, Debtor has been in the
independent used car industry since 2012. In 2012, Flex Capital formed Castle Hills Motors and
began operating a used car dealership in Lewisville, Texas. Flex Capital is the sole member and
100% owner of Castle Hills Motors. The business model for Castle Hills Motors was premised
upon in house financing via BHPH promissory notes.

        In order to grow and fund business operations, Debtor used personal capital and external
private equity capital to fund Castle Hills Motors’ purchase of vehicles and sell to customers for
in house financing. This combined capital was how Castle Hills Financing was established.
Castle Hills Financing is 70% owned by Flex Capital, 10% owned by the Debtor’s two minor
children, 5% owned by Ryan Brown and 5% owned by Greg Jedrusiak.

        Castle Hills Financing’s main function was to partially purchase Castle Hills Motors’
BHPH notes to allow Castle Hills Motors’ cash flow to remain positive and give Castle Hills
Motors the ability to grow quickly. Castle Hills Motors grew rapidly during the first seven years
of existence.

        Over the years, the strategy of the dealership shifted to better, more expensive vehicles
and less BHPH financing, replaced with significantly more outside financing and cash sales. At
its peak, Castle Hills Motors employed approximately 15 full time contractors and several part
time individuals.

        In early 2019, Mr. Weiss and his wife separated and a divorce subsequently ensued. The
divorce was finalized in July of 2019 which resulted in 50% custody of his two daughters (10
and 13 years old). Mr. Weiss rotates custody on a weekly basis and covers 50% of the children’s
overall costs.
        In March of 2020, the COVID pandemic struck and devastated the business operations of
Castle Hills Motors and Castle Hills Financing. Most of the BHPH customers stopped making
payments and sales plummeted as the state and country decided how to best deal with the
pandemic from a store retail store front prospective. Castle Hills Motors cut staff levels
dramatically in March of 2020, but the dealership had very large inventory levels at the time the
pandemic protocols rolled out and when business came to a grinding halt. Unfortunately, many
of the pandemic benefits such as PPP loans were not available to Castle Hills Motors because all
individuals working at the dealership were paid as independent contractors as opposed to W-2
employees.

      Large monthly fixed costs, private equity debt payback, private equity debt interest
payments and automotive floor plans quickly ate up all cash reserves Castle Hills Motors had

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established over the first seven years in business. Sales levels were 35-70% lower than the
comparable 2019 results during the pandemic period. The Debtor attempted to secure liquidity
for Castle Hills Motors from a variety of sources including personal credit card advances from
the Debtor’s credit cards, business merchant cash advances for Castle Hills Motors and
additional private equity advance inquiries. High interest and additional debt service added by
these liquidity options secured magnified the problem of being able to keep up with monthly
expenses.

        After exhausting all of the Debtor’s personal liquidity reserves and external private equity
loan opportunities, Castle Hills sold its assets on November 30th, 2020 in an effort to salvage
any remaining value related to Castle Hills Motors or Castle Hills Financing1. The sale was to
Dennis Auto Investments, LLC (“Dennis Auto”), and Mr. Weiss’ father is the 100% owner of
Dennis Auto. The sale was recommended by LMN Consulting, LLC, an unrelated third party
that previously worked in the auto industry. The strategy for the sale was to rebrand Castle Hills
Motors under new ownership and new management in an effort to revamp the business
operations and rebrand the company. LMN would take over the management and control of
Castle Hills Motors and work to collect the delinquent BHPH notes. The sale to Dennis Auto
was an asset sale in the form of a promissory note, and the Debtor signed on as a consultant for
the new dealership to help ensure the promissory note would be paid.

       Unfortunately, LMN has not performed as expected, and the new company Dennis Auto
has continued to struggle and lose money every month. It was at this point that Mr. Weiss finally
decided that personal bankruptcy was his only remaining option. On September 23, 2021, the
Debtor filed for bankruptcy relief under Chapter 11.

                                                      ARTICLE V

 POST-PETITITON OPERATIONS AND DISCLOSURES PERTAINING TO INSIDERS
           AND MANAGEMENT OF THE REORGANIZED DEBTOR

       Debtor is continuing to work as a Corporate Finance/Tax Consultant under Flex Capital.
Mr. Weiss has solely owned and operated Flex Capital since 2006. By and through Flex Capital,
Debtor receives approximately $6,250.00 per month.
        After working for months without a paycheck from Dennis Auto, Debtor has recently
started receiving $1,000 week from Dennis Auto for consulting and assisting with the business
operations. Debtor does not have an ownership interest in Dennis Auto, but Dennis Auto is
owned by the Debtor’s father.
       Prior to and since this bankruptcy filing, Debtor has drastically reduced his monthly
expenses. Debtor went from a $3,400 per month lease on a 3,200 square foot home to a $2,200
per month lease on a 1,950 square foot home. Mr. Weiss has also eliminated all non-essential
monthly costs such as landscaping costs housekeeping and vacations. In addition, Debtor is now
operating on a cash system and is not incurring any additional debt.

1 Prior to the sale, Castle Hills solicited offers for the sale of its assets, and the highest offer it received was
$25,000.00.

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                                           ARTICLE VI

                                I.      TREATMENT OF CLAIMS
Class 1:

A.     Administrative Claims: (Class 1) – In connection with the administration of this Chapter
11 Case, the Debtor has incurred administrative fees to the Subchapter V Trustee and Debtor's
counsel. Debtor estimates the outstanding attorney’s fees will be approximately $5,000.00 after
the application of the Firm’s remaining retainer. In addition, the Debtor estimates the fees for the
Subchapter V Trustee will be a maximum of $5,000.00.

         The holder of an Administrative Claim, other than administrative claims filed by
governmental units, shall be paid, to the extent allowed by the Court, in full in cash on or before
the later of (a) ten (10) days following the Effective Date or (b) ten (10) days following the date
on which the Administrative Claims are Allowed by a Final Order of the Court. For purposes of
payment of administrative expenses, any administrative claimant, other than governmental units,
desiring to be paid under the Plan must file an application for allowance of Administrative Claim
on or before thirty (30) days after the entry of an Order confirming the Plan except as otherwise
provided under 11 U.S.C. §503(b)(1)(D).

 B.     Professional Fee Claims. Each Professional employed pursuant to Section 330 of the Code
 and/or appointed pursuant to Subchapter V shall file their final Fee Application with the Court
 within sixty (60) days after the Effective Date, unless the Court orders otherwise. Service of a
 final Fee Application or notice related to a final Fee Application shall be promptly made to the
 Reorganized Debtor and parties requesting notice in this case. Objections to any Professional Fee
 Claims by any party in interest shall be filed and served not later than twenty (20) days after filing
 and service of a Final Fee Application or service of a notice related to a Final Fee Application.
 As set forth above, Debtor estimates the outstanding attorney’s fees will be approximately
 $5,000.00 after the application of the Firm’s remaining retainer. In addition, the Debtor estimates
 the fees for the Subchapter V Trustee will be a maximum of $5,000.00.
        The Class 1 Claims are not impaired.

Class 2:

C.      All Allowed Secured Claims of Lewisville ISD and Denton County: (Class 2) – Debtor
estimates the allowed secured claims of Lewisville ISD and Denton County at zero, and Debtor’s
Plan does not provide for payment of these claims. Upon information and belief, the claims
asserted by Lewisville ISD and Denton County are owed by Castle Hills Motors, which is owned
by Castle Hills Finance. In the event Lewisville ISD and Denton County are determined to hold
an allowed unsecured claim against the Debtor, Lewisville ISD and Denton County will be treated
and paid in accordance with other unsecured creditors as set forth in Class 3.

        The Class 2 Claims are impaired.



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Class 3:

D.     All Allowed Unsecured Claims – (Class 3)

       A Class 3 Claimant holding an Allowed Unsecured Claim shall be paid a pro rata share of
$90,000.00 over a term of sixty (60) months. Payments to an allowed Class 3 Claimant will begin
within thirty (30) days of the Effective Date of the Confirmed Plan. The combined monthly
payment to all allowed, unsecured creditors will be $1,500.00 per month.
         Based on Debtor’s Schedules, Debtor has approximately $2,309,980.66 in general
unsecured claims. Debtor estimates the dividend to unsecured creditors will be approximately four
percent (4%) of each creditor’s allowed unsecured claim.
       The Class 3 claims are impaired.

Class 4:

E.      All Allowed Unsecured Convenience Claims: (Class 4) – On or before, but no later than
twenty (20) days after the Effective Date, the holder of any Allowed General Unsecured Claim
who is scheduled to receive a pro rata distribution in excess of $500.00 may elect to reduce the
holder’s Allowed Claim and total pro rata distribution to $500.00, after which the Allowed Claim
shall be treated as a Convenience Claim. Allowed Convenience Claims shall be paid in full within
30 days after the Effective Date.
       The Class 4 claims are not impaired.

                           II.     CLASSIFICATION AND VOTING

A.     Creditors Divided into Classes.

        The Bankruptcy Code requires that creditors be divided into classes in the Plan. That is,
creditors with similar legal rights are put into the same class.

B.     Creditors' Right to Vote on the Plan.

        In a Chapter 11 reorganization, generally, creditors who are impaired under a Plan have
the right to vote on a Plan. In this Chapter 11 Case, most if not all creditors’ claims are impaired
under this Plan. All creditors should read this Plan carefully, discuss it with an attorney and
consider how to vote on the Plan.

       The Court will conduct the Confirmation Hearing in this Chapter 11 Case to decide whether
to confirm the Plan on December 21, 2021 at 1:30 p.m. at the United States Bankruptcy Court,
1100 Commerce Street, 14th Floor, Courtroom #3, Dallas, TX 75242.

       Ballots will be mailed by and should be submitted to the Balloting Agent as follows:



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                                    901 Main Street, Suite 5320
                                        Dallas, Texas 75202
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       The Voting Deadline is December 14, 2021 on or before 5:00 p.m.

C.      Creditors Have the Right to Object to the Confirmation of the Plan.

        If a creditor believes that the Plan does not meet the requirements of the Bankruptcy Code,
the creditor may file a written objection with the Bankruptcy Court. The Objection Deadline has
been set for December 14, 2021 at 5:00 p.m. The Court will consider only written objections that
are timely filed and ballots that are timely filed. If no objections are filed (or if all objections are
overruled by the Court), the Court may approve the Plan. If the Court approves the Plan, all
creditors will be bound, even if a creditor did not vote and even if a creditor voted against the Plan.
This means that a creditor will not be allowed to collect its claim against the Debtor except as
provided in the Plan.

D.      Plan Acceptance.

       Each class of Claims is considered separately for voting. Only the creditors who vote are
counted. The Court will conclude that the class "accepts" the Plan if two requirements are met: (1)
More than 50% of the voting creditors vote in favor of the Plan; and (2) those creditors voting in
favor of the Plan hold at least 2/3 of the total amount of the debt that vote in such class.

E.      Cramdown.

       If any class of Claims shall fail to accept the Plan in accordance with section 1126 of the
Bankruptcy Code, the Bankruptcy Court may still confirm the Plan in accordance with sections
1129 and 1191 of the Bankruptcy Code and in particular the provisions set forth under Subchapter
V.

F.      Classification and Impairment of Claims Under the Plan.

Class 1: Administrative and Professional Fee Claims - Administrative

       This class is comprised of administrative claimants and professional fee claims. Class 1 is
not impaired.

Class 2: All Allowed Secured Claims of Lewisville ISD and Denton County - Secured

       This class is comprised of secured claims asserted by Lewisville ISD and Denton County.
Class 2 is impaired.




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 Class 3: Allowed General Unsecured Creditor Claims - Unsecured

      This class is comprised of unsecured claims as more particularly set forth in Debtor’s
Schedules and the claims register on file in the case. Class 3 is impaired.

Class 4: Allowed Unsecured Convenience Creditor Claims - Unsecured

      This class is comprised of allowed unsecured claims that have elected to be treated as
Convenience Claims. Class 4 is unimpaired.

                 III.   MEANS FOR IMPLEMENTATION AND DISCLOSURES

A.       Continued Operations.

       The Reorganized Debtor will continue to perform work in accordance with ordinary
business practices. Attached to this Plan as Exhibit A are Debtor’s projections for the next five
years which Debtor believes will permit him to make the payments contemplated by the Plan.

B.       Disbursing Agent's Duties and Responsibilities.
        The Reorganized Debtor shall act as “Disbursing Agent” and be responsible for making
the disbursements provided for in this Plan. The Disbursing Agent may make such disbursement
in the manner in which he deems reasonable and appropriate. To effectuate the payments under
the Plan, the Disbursing Agent may utilize bank accounts as he determines is reasonable under the
circumstances including using the Debtor's existing bank accounts, or a special trust account.

C.       Executory Contracts or Leases.

       This Plan constitutes a motion, pursuant to Bankruptcy Code § 365[a] to assume all
Contracts, except those expressly rejected by the Debtor, in writing, at or prior to the Confirmation
Hearing.

The following contracts are expressly assumed by the Debtor:

        Real estate lease with Kristina Beagle. The lease payments on the home are $2,400 per
         month, and Debtor is current on the payments.
        Storage Lease with Life Storage to store miscellaneous household goods. The lease
         payments are $220.00 per month, and Debtor is current on the payments.

The following contracts are expressly rejected by the Debtor:

        None.

        If the rejection of Contracts by the Debtor pursuant to this Plan results in damages to the
other party or parties to such Contracts, a Claim for such damages, if not heretofore evidenced by
a filed proof of Claim, shall be forever barred and shall not be enforceable against the Debtor, the
Reorganized Debtor or his respective property or agents, successors or assigns, unless a proof of

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Claim is filed with the Bankruptcy Court and served upon counsel for the Debtor on or before sixty
[60] days following the Effective Date.

        Notwithstanding anything in the Plan, all insurance policies under which the Debtor is the
insured party shall be deemed assumed as of the Confirmation Date. All payments upon such
policies are current; no Cure Payments are necessary.
        Entry of the Confirmation Order shall constitute a finding that the Debtor shall not owe
any Cure Payment in connection with any assumed pre-Petition Date Contracts and shall constitute
approval of assumptions of such Contracts pursuant to Bankruptcy Code Sections 365(a), 365(b),
and 1123 of the Bankruptcy Code, unless the Confirmation Order or another order of the
Bankruptcy Court specifies a different Cure Payment. Any party to assumed Contracts that
contends that a Cure Payment is due shall be required to state the amount allegedly necessary to
cure by filing and serving an objection on counsel for the Debtor prior to the Confirmation Hearing
and stating, in its objection, with specificity, the Cure Payment that such party believes is required
(with appropriate documentation in support thereof). Any party to assumed Contracts that has not
timely filed with the Bankruptcy Court and served on counsel for the Debtor prior to the
Confirmation Hearing an appropriate objection shall be deemed to have waived any right to further
assert that any Cure Payment is due. If a timely and properly filed objection is made, the Cure
Payment, if any, shall be determined, if necessary, at the Confirmation Hearing or at such other
date noticed for hearing or as may be determined by the Bankruptcy Court.

D.     Vesting of Assets and Retention of Claims and Causes of Actions Against Third Parties.

        The Plan contemplates a Settlement and Release of all causes of Action that have been
brought or could be brought against the Debtor. The Debtor shall retain and have the exclusive
right to enforce all Causes of Action including, without limitation, those under Chapter 5, and all
avoidance actions under applicable non-Bankruptcy law that arose before the Effective Date.
Provided that upon any subsequent conversion to a case under chapter 7, all assets vesting in the
Reorganized Debtor, shall pass to the chapter 7 trustee as property of the chapter 7 estate subject
to those Claims, Liens, and encumbrances as Allowed in this Plan.

PLEASE TAKE NOTICE THAT ALL CAUSES OF ACTION OF THE DEBTOR AND ITS
ESTATE WILL BE PRESERVED. THE LACK OF DISCLOSURE OF ANY PARTICULAR
CAUSE OF ACTION SHALL NOT CONSTITUTE, NOR BE DEEMED TO CONSTITUTE, A
RELEASE OR WAIVER OF SUCH CAUSE OF ACTION, AS THE DEBTOR INTENDS FOR
THE PLAN TO PRESERVE SAME FOR PROSECUTION BY THE DEBTOR AFTER THE
EFFECTIVE DATE.

       Debtor further specifically preserves the right to pursue any and all claims, money,
refunds, credits, rebates, grants or loans that he may be entitled to in relation to disaster relief
and/or COVID-19. However, Debtor is unaware of any additional money that he is entitled to
receive.

       [1]     Estimated Claims

       Except as otherwise provided herein, the Court may estimate for purposes of allowance


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 pursuant to § 502[c], Bankruptcy Code, [i] any Contested Claim or unliquidated Claim, or [ii]
 any portion or part of any Claim that is, itself, unliquidated. Any Estimation Order, to the extent
 it becomes a Final Order, shall determine the amount of the Allowed Claim so estimated.

         [2]     Establishment of Contested Claims Reserve. Notwithstanding any other provision
 of this Plan, no assets or property shall be distributed under this Plan on account of any Contested
 Claim. For all Contested Claims, the Reorganized Debtor shall establish and hold, in trust,
 distributions to be made on account to the holders of Contested Claims [each such reserve being
 herein called a “Contested Claims Reserve”] with respect to each Claim for which there exists a
 Contested Claim, and shall place in each Contested Claims Reserve the assets and property to be
 distributed on account of such Contested Claims pursuant to this Plan, pending Allowance or
 Disallowance of such Claim. Pending entry of a Final Order concerning a Contested Claim, the
 Reorganized Debtor shall pay into the Contested Claims Reserve all payments provided for under
 this Plan pursuant to any Allowed Claim which would have been required to be delivered to the
 claimant absent a Contested Claim. Cash held in any Contested Claims Reserve shall be held in a
 segregated interest-bearing trust account. To the extent practicable, the Reorganized Debtor may
 invest the Cash in any Contested Claims Reserve in a manner that will yield a reasonable net return,
 taking into account the safety of the investment.

         [3]    Determination of Contested Claims Reserve. The Bankruptcy Court may, at any
 time, determine for each Claim, the amount of assets and property sufficient to fund each Contested
 Claims Reserve in full with respect to any such class. The Bankruptcy Court may estimate and
 determine by an Estimation Order the Estimated Amount of Claims in any unsecured class for
 which a Contested Claims Reserve has been established. Any unsecured claimant holding a
 Contested Claim so estimated will have recourse only to undistributed assets and property in the
 Contested Claims Reserve for the class in which such Contested Claim has been placed and not to
 any other assets or property, should the Allowed Claim of such claimant, as finally determined by
 a Final Order, exceed such Estimated Amount.

           [4] Return of Assets. Except as otherwise provided herein, all assets and properties
 [and all interest payments and dividends previously paid in connection therewith] in any Contested
 Claims Reserve for any class of Claims remaining after the resolution of all disputes relating
 thereto shall be returned to the Reorganized Debtor for distribution in accordance with this Plan.

         [5] Withholding of Taxes. The Reorganized Debtor shall withhold from any assets and
 property distributed under this Plan any assets and or property which must be withheld for federal,
 state and local taxes payable by the Entity entitled to such property to the extent required by
 applicable law.

 E.     Distributions.

          Subject to Bankruptcy Rule 9010, distributions to holders of Allowed Claims shall be made
 at the address of each such holder as set forth on the proofs of Claim filed by such holders [or at
 the last known address of such a holder if no proof of Claim is filed or if the Disbursing Agent has
 been notified in writing of a change of address]. If any holder’s distribution is returned as
 undeliverable, no further distributions to such holder shall be made unless and until the Disbursing

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 Agent is notified in writing of such holder’s then current address, at which time all missed
 distributions shall be made to such holder without interest. After the first anniversary of the
 Effective Date, all unclaimed property shall revert to the Disbursing Agent or any successor
 thereto, and the claim of any holder with respect to such property shall be discharged and forever
 barred.

 F.     Time Bar to Cash Payments.

         Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void
 if not negotiated within six months after the date of issuance thereof. Requests for reissuance of
 any check shall be made directly to the Disbursing Agent by the holder of the Allowed Claim with
 respect to which such check originally was issued. Any claim in respect of such a voided check
 shall be made on or before the later of [1] the first anniversary of the Effective Date or [2] 90 days
 after the date of reissuance of such check. After such date, all claims in respect of void checks
 shall be discharged and forever barred.

 G.     Objection Deadline.

        As soon as practicable, but in no event later than sixty [60] days after the Effective Date,
 unless otherwise ordered by the Bankruptcy Court, objections to Claims shall be filed with the
 Bankruptcy Court and served upon the holders of each of the Claims to which objections are made.
 Notwithstanding the foregoing sentence, as to any Claim which is filed after the Effective Date,
 an objection to such Claim shall be filed on or before sixty [60] days after the date on which such
 Claim is filed.

 H.     No Distributions Pending Allowance.

         Notwithstanding any other provision of the Plan, no payment or distribution shall be made
 with respect to the disputed portion of any Claim to the extent it is a Contested Claim unless and
 until such Contested Claim becomes an Allowed Claim. Payments and distributions to each holder
 of a Contested Claim, to the extent that such Claim ultimately becomes an Allowed Claim, shall
 be made in accordance with the provisions of the Plan governing the class of Claims to which the
 respective holder belongs.

 I.     Claims on File; No Allowance of Untimely Claims.

         The Debtor is relying on the formal proofs of Claims on file and the Debtor’s Schedules
 currently on file in seeking confirmation of the Plan. No informal proof of claim shall be deemed
 to have been filed in this Case.

                             IV.     RETENTION OF JURISDICTION

 A.      Scope of Jurisdiction.
         Pursuant to sections 1334 and 157 of title 28 of the United States Code, until the time that
 an order is entered closing the Chapter 11 Case, the Bankruptcy Court shall retain and have
 jurisdiction over all matters arising in, arising under and related to the Chapter 11 Case and the


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 Plan. Without limitation, the Bankruptcy Court shall retain jurisdiction for the following specific
 purposes after the Confirmation of this Plan:

         to modify this Plan pursuant to the Bankruptcy Rules and the Bankruptcy Code;
         to enforce and interpret the terms and conditions of this Plan;
         to enter such orders, including injunctions, as are necessary to enforce the title, rights, and
          powers of the parties provided authority under the Plan;
         to enter an order concluding and terminating the Chapter 11 Case;
         to correct any defect, cure any omission, or reconcile any inconsistency in this Plan, or the
          Confirmation Order as may be necessary, consistent with the requirements of the
          Bankruptcy Code and Bankruptcy Rules to carry out the purposes and intent of this Plan,
          including the adjustment of the date[s] of performance under this Plan in the event the
          Effective Date does not occur as provided herein, so that the intended effect of this Plan
          may be substantially realized thereby;
         to approve all Fee Claims;
         to hear and determine any causes of action arising prior to the Effective Date or thereafter
          or in any way related to this Plan or the transactions contemplated hereby;
         to determine any and all applications pending on the Confirmation Date for the rejection,
          assumption or assignment of Contracts and the allowance of any Claim resulting therefrom;
         to determine such other matters and for such other purposes as may be provided in the
          Confirmation Order;
         to hear and determine any and all adversary proceedings, applications, and contested
          matters, including any remands of appeals;
         to hear and enter final judgments in adversary proceedings which involve a Cause of Action
          retained by the Debtor;
         to ensure that distributions to holders of Allowed Claims are accomplished as provided
          herein;
         to hear and determine any timely objections to or applications concerning Claims or the
          allowance, classification, priority, compromise, estimation, or payment of any Claim, or
          Interest;
         to enter and implement such orders as may be necessary or appropriate in the event the
          Confirmation Order is for any reason stayed, revoked, modified, reversed, or vacated;
         to enter and implement such orders as may be necessary or appropriate to execute, interpret,
          implement, consummate, or enforce the Plan and the transactions contemplated thereunder
          including the Auction and the sale of the Auctioned Property;
         to hear and determine matters concerning state, local, and federal taxes in accordance with
          §§ 346, 505, and 1146, Bankruptcy Code;
         to enter Estimation Orders; and
         to enforce the injunctions in the Plan.

 B.       Failure of the Bankruptcy Court to Exercise Jurisdiction.

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
 otherwise without jurisdiction over any matter arising in, arising under or related to this Case,
 including the matters set forth in the Plan, this Plan shall have no effect upon and shall not control,

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 prohibit or limit the exercise of jurisdiction by any other court having jurisdiction with respect to
 such matter.

                             V.     MISCELLANEOUS PROVISIONS

 A      Discharge.

          Except as otherwise provided in this Plan, entry of the Confirmation Order shall discharge
 all existing debts and Claims of any kind, nature or description whatsoever against the Debtor or
 any of its assets or properties to the fullest extent permitted by section 1141 and 1192 of the
 Bankruptcy Code, including but not limited to Claims based upon any act or omission, transaction
 or other activity of any kind or nature that occurred prior to the Effective Date and all debts of the
 kind specified in sections 502[g], 502[h] or 502[i] of the Bankruptcy Code, whether or not [a] a
 Proof of Claim based upon such debt is filed or deemed filed under section 501 of the Bankruptcy
 Code; [b] a Claim based upon such debt is allowed under section 502 of the Bankruptcy Code; or
 [c] the holder of a Claim has accepted the Plan. As provided in section 524 of the Bankruptcy
 Code, the discharge shall void any judgment against the Debtor at any time obtained to the extent
 it relates to a Claim discharged and operates as an injunction against the prosecution of any action
 against the Debtor or any of its property, to the extent it relates to a Claim discharged.
 Notwithstanding anything to the contrary, this Section does not enjoin creditors from enforcing
 their rights under the Plan and does not apply to post-petition ad valorem taxes.

 B.     Injunctions.

         The Confirmation Order shall contain such injunctions as may be necessary and helpful to
 effectuate the discharge of the Debtor provided herein. WITHOUT LIMITING THE
 GENERALITY OF THE FOREGOING, SUCH INJUNCTION SHALL INCLUDE AN
 ABSOLUTE PROHIBITION FROM COLLECTING CLAIMS OR ASSERTING CONTROL OF
 PROPERTY OF THE ESTATE AS IT HAS REVESTED IN THE REORGANIZED DEBTOR
 PURSUANT TO THE PLAN IN ANY MANNER OTHER THAN AS PROVIDED FOR IN THE
 PLAN. Provided however, that parties to assumed Contracts shall not be enjoined from pursuing
 their rights and remedies under such Contracts and may exercise their rights and remedies in
 accordance with the terms and conditions of such Contracts.


 C.     Modification of Plan.

         Modifications of the Plan may be proposed in writing by the Debtor at any time before the
 Confirmation Date, provided that [a] the Plan, as modified, meets the requirements of sections
 1122 and 1123 of the Bankruptcy Code and [b] the Debtor shall have complied with section 1125
 of the Bankruptcy Code. The Plan may be modified at any time after the Confirmation Date and
 before substantial consummation, provided that [i] the Plan, as modified, meets the requirements
 of sections 1122, 1123 and 1191 of the Bankruptcy Code, [ii] the Bankruptcy Court, after notice
 and a hearing, confirms the Plan as modified, under section 1129 of the Bankruptcy Code and [iii]
 the circumstances warrant such modifications. A holder of a Claim that has accepted or rejected
 the Plan shall be deemed to have accepted or rejected, as the case may be, such Plan as modified,
 unless, within the time fixed by the Bankruptcy Court, such holder changes its previous acceptance
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 or rejection.

 D.      Severability.

         Should the Bankruptcy Court determine that any provision of the plan is unenforceable
 either on its face or as applied to any claim or transaction, the Debtor may modify the plan in
 accordance with the Bankruptcy Code so that such provision shall not be applicable to the holder
 of any claim. Such a determination of unenforceability shall not [1] limit or affect the
 enforceability and operative effect of any other provision of the plan or [2] require the resolicitation
 of any acceptance or rejection of the plan.

 E.      Integration Clause.

        This Plan is a complete, whole, and integrated statement of the binding agreement between
 the Debtor, creditors, and the parties in interest upon the matters herein.

 F.      Contact Information:

       Creditors should consult with an attorney about their rights and the responsibility in this
 Chapter 11 Case.

         The attorney for the Debtor is:

                                       Areya Holder Aurzada
                                            Holder Law
                                     901 Main Street, Suite 5320
                                        Dallas, Texas 75202

         If a creditor does not have an attorney, but still wants more information, that creditor can
 call the foregoing attorney directly.

 H.       Setoff Rights

         In the event that the Debtor has a claim of any nature whatsoever, including but not limited
 to a 11 U.S.C. 506[c] claim, against the holder of a Claim, the Debtor may, but is not required to,
 setoff against the Claim [and any payments or other distributions to be made in respect of such
 Claim hereunder], subject to the provisions of section 553 of the Bankruptcy Code. Neither the
 failure to setoff nor the allowance of any Claim under the Plan shall constitute a waiver or release
 by the Debtor of any claim that the Debtor may have against the holder of a Claim.

 I.      Pre-Petition Date Lawsuits/Insurance
         On the Effective Date, lawsuits, litigations, administrative actions or other proceedings,
 judicial or administrative, in connection with the assertion of a Claim or derivative suit or
 representative suit brought by the Debtor or against the Debtor shall be dismissed; provided
 however, if an appeal or post judgment of any such matter is pending as of the Confirmation Date,


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 the Claim shall be determined by the court[s] in which such case is pending; provided further that
 if such case is reversed or remanded to the trial court, the Claim shall be asserted and finally
 determined by the Bankruptcy Court.
         Dismissals of proceedings provided herein shall be with prejudice to the assertion of such
 Claim in any manner other than as prescribed by the Plan. All parties to any such action shall be
 enjoined by the Bankruptcy Court in the Confirmation Order from taking any action to impede the
 immediate and unconditional dismissal of such actions. Confirmation and consummation of the
 Plan shall have no effect on insurance policies of the Debtor in which the Debtor are or were the
 insured party; the Reorganized Debtor shall become the insured party under any such policies.
 Each insurance company is prohibited from, and the Confirmation Order shall include an
 injunction against, denying, refusing, altering or delaying coverage on any basis regarding or
 related to the Debtor’s bankruptcy, the Plan or any provision within the Plan, including the
 treatment or means of liquidation set out within the Plan.
          In addition, Debtor further specifically preserves the right to pursue any and all claims,
 rebates, refunds, credits, money, grants or loans that he may be entitled to in relation to
 disaster relief and/or COVID-19. However, Debtor is unaware of any additional money that he
 is entitled to receive.

 J.     Post-Effective Date Fees and Expenses of Professional Persons.
 Except as provided in this Plan, after the Effective Date, the Reorganized Debtor shall, in the
 ordinary course of business and without the necessity for any approval by the Bankruptcy Court,
 pay the reasonable fees and expenses of the Professional Persons employed by the Reorganized
 Debtor, related to the implementation and consummation of the Plan, provided, however, that no
 such fees and expenses shall be paid except upon receipt by the Reorganized Debtor of a written
 invoice, which invoice shall also be served upon counsel for the Debtor, and the United States
 Trustee, by the Professional Person seeking fees and expense reimbursement and provided, further,
 however, that the Reorganized Debtor may, within 10 days after receipt of an invoice for fees and
 expenses, request the Bankruptcy Court to determine any such request and the Bankruptcy Court
 shall have jurisdiction to do so. In such event, the Bankruptcy Court shall apply the same standard
 for approval of fees and expenses as applied throughout the Chapter 11 Case.

 K.     Bankruptcy Restrictions.

 From and after the Effective Date, the Reorganized Debtor shall no longer be subject to the
 restrictions and controls provided by the Bankruptcy Code [e.g., section 363 or 364]. The
 Reorganized Debtor may conduct its affairs in such manner as is consistent with Entities not in
 bankruptcy without the need of seeking Bankruptcy Court approval. No monthly operating reports
 will be filed after the Effective Date; however, the Reorganized Debtor shall provide the U.S.
 Trustee such financial reports as the U.S. Trustee may reasonably request until the entry of a final
 decree. In addition, the Subchapter V Trustee shall be released from all further duties and
 obligations upon Confirmation of the Plan.

 L.       Binding Effect.


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         The Plan shall be binding upon and inure to the benefit of the Debtor, the holders of Claims
 and their respective successors and assigns; provided, however, that if the Plan is not confirmed,
 the Plan shall be deemed null and void and nothing contained herein shall be deemed [i] to
 constitute a waiver or release of any Claims by the Debtor, or any other Entity, [ii] to prejudice in
 any manner the rights of the Debtor, or any other Entity, or [iii] to constitute any admission by the
 Debtor, or any other Entity.

 M.       Governing Law.

        Unless a rule of law or procedure is supplied by federal law [including the Bankruptcy
 Code and Bankruptcy Rules], the internal laws of the State of Texas shall govern the construction
 and implementation of the Plan and any agreements, documents and instruments executed in
 connection with the Plan or the Chapter 11 Case, except as may otherwise be provided in such
 agreements, documents and instruments.

 N.     Default by the Debtor.

         In the event that the holder of an Allowed Claim asserts that the Reorganized Debtor is in
 default of its obligations under the Plan, such creditor must provide the Debtor with written notice
 [“Notice“] of such default to the following address: 5557 Glenview Lane, The Colony, Texas
 75056. In addition, the creditor must also provide notice to Debtor’s counsel at follows: Holder
 Law, 901 Main Street, Suite 5320, Dallas, Texas 75202. If the default asserted in the Notice
 remains uncured on the thirtieth [30th] day from the date on which such Notice is sent, the holder
 of such Allowed Claim may pursue any rights or remedies it may have under applicable non-
 bankruptcy law, whether state, federal or otherwise.

 O.       Exculpations.

 Neither the Reorganized Debtor, nor its agents or attorneys, shall have or incur any liability to any
 holder of a Claim for any act, event or omission in connection with, or arising out of, the Chapter
 11 Case, the confirmation of the Plan, the consummation of the Plan or the administration of the
 Plan or the property to be distributed under the Plan, except for willful misconduct or gross
 negligence.

                          VI.    OTHER INFORMATION RELEVANT TO
                                 ACCEPTING OR REJECTING THE PLAN

 A.     Disclosures.

          The disclosures contained herein are provided pursuant to Section 1190 of the Bankruptcy
 Code. The purpose of the disclosures is to provide such information as will enable a hypothetical,
 reasonable investor, typical of the holders of Claims, to make an informed judgment in exercising
 its rights either to accept or reject the Plan.

 B.     Disclaimer.


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      NO REPRESENTATIONS CONCERNING THE PLAN ARE AUTHORIZED OTHER
 THAN THOSE SET FORTH HEREIN. DEBTOR RECOMMENDS THAT ANY
 REPRESENTATION OR INDUCEMENT MADE TO SECURE YOUR ACCEPTANCE OR
 REJECTION OF THE PLAN WHICH IS NOT CONTAINED HEREIN SHOULD NOT BE
 RELIED UPON BY YOU IN REACHING YOUR DECISION ON HOW TO VOTE ON THE
 PLAN. ANY REPRESENTATION OR INDUCEMENT MADE TO YOU NOT CONTAINED
 HEREIN SHOULD BE REPORTED TO THE ATTORNEY FOR THE DEBTOR WHO SHALL
 DELIVER SUCH INFORMATION TO THE COURT FOR SUCH ACTION AS MAY BE
 APPROPRIATE

      FORWARD-LOOKING STATEMENTS ARE NOT GUARANTEES OF THE
 REORGANIZED DEBTOR’S FUTURE PERFORMANCE.        THERE ARE RISKS,
 UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT COULD CAUSE THE
 REORGANIZED DEBTOR’S ACTUAL PERFORMANCE OR ACHIEVEMENTS TO BE
 DIFFERENT FROM THOSE PROJECTED, AND DEBTOR UNDERTAKES NO
 OBLIGATION TO UPDATE THE PROJECTIONS MADE HEREIN. THESE RISKS,
 UNCERTAINTIES, AND FACTORS MAY INCLUDE THE FOLLOWING:

             DEBTOR’S ABILITY TO CONFIRM AND CONSUMMATE THE PLAN;
             THE POTENTIAL THAT THE DEBTOR MAY NEED TO PURSUE AN
              ALTERNATIVE TRANSACTION IF THE PLAN IS NOT CONFIRMED;
             THE DEBTOR’S ABILITY TO REDUCE ITS OVERALL FINANCIAL
              LEVERAGE;
             THE REORGANIZED DEBTOR’S RELIANCE ON KEY INDIVIDUALS;
             THE POTENTIAL ADVERSE IMPACT OF THE CHAPTER 11 CASE ON THE
              REORGANIZED DEBTOR’S OPERATIONS, MANAGEMENT, AND
              EMPLOYEES;
             THE RISKS ASSOCIATED WITH OPERATING THE DEBTOR’S BUSINESS
              DURING THE CHAPTER 11 CASE;
             CUSTOMER RESPONSES TO THE CHAPTER 11 CASE;
             GENERAL ECONOMIC, BUSINESS, AND MARKET CONDITIONS;
             A DECLINE IN THE DEBTOR’S MARKET SHARE DUE TO COMPETITION
              OR PRICE PRESSURE BY CUSTOMERS;
             THE DEBTOR’S ABILITY TO IMPLEMENT COST REDUCTION
              INITIATIVES IN A TIMELY MANNER;
             FINANCIAL CONDITIONS OF THE DEBTOR’S CUSTOMERS; AND
             THE REORGANIZED DEBTOR’S ACCESS TO CAPITAL RESOURCES;
             COVID 19 AND THE PANDEMIC

      THE DEBTOR DOES NOT WARRANT OR REPRESENT THAT THE INFORMATION
 CONTAINED HEREIN (INCLUDING THE PROJECTIONS CONTAINED IN EXHIBIT A) IS
 UNCONDITIONALLY CORRECT, ALTHOUGH GREAT EFFORT HAS BEEN MADE TO
 BE ACCURATE. THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE
 DATE HEREOF UNLESS ANOTHER TIME IS SPECIFIED HEREIN.



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 C.       Alternatives to the Plan.

         There are two alternative methods to resolving the Chapter 11 Case: conversion to a
 Chapter 7 or dismissal. Debtor explored these options and consulted with counsel as to the benefit
 and detriment of each option. Based on this review, Debtor believes it is unlikely that either
 alternative would afford creditors the returns expected pursuant to this Plan. Further, a Chapter 7
 Trustee would not be able to make any distribution to creditors until all assets of the Debtor were
 liquidated and all claims resolved. Chapter 7 by definition is not a reorganization and is instead a
 liquidation of the assets of the business. Dismissal is not necessarily a liquidation by nature, but
 creditors would not receive the benefit of the devotion of Debtor’s disposable income over the next
 5 years.

 D.       Liquidation Analysis.

        In the event of conversion to Chapter 7, the Debtor’s assets would be liquidated by a
 Chapter 7 bankruptcy trustee. Debtor believes that in the event of an orderly liquidation of the
 Debtor’s assets by a Chapter 7 trustee, the following analysis would dictate the results to creditors:
          NONEXEMPT ASSETS
          Cash and Bank Accounts                                                             $1,273.98
          Argo Restricted Stock                                                              $32,003.252
          Flex Capital Investments, LLC                                                      $03




          Tax Refunds                                                                        $53,954.00



 2 The value of the restricted stock is based upon a gross value of $42,671.00 less 25% in income tax that would be
 sent to the IRS upon exercise and liquidation of the stock by the holding company.
 3 The value of Flex Capital Investments, LLC is based on the two primary assets of Flex Capital – its 100%
 ownership interest in Castle Hills Motors and its 70% ownership interest in Castle Hills Financing:

         The value of Castle Hills Motors is based on the amount due on the promissory note and three auto
          receivable pools less the outstanding liabilities. The gross value of the assets is estimated at $127,000 for
          the promissory notes and $100,000 for the auto receivables pools. Debtor estimates there is a 50% chance
          of collection on the promissory note and the auto receivable pools. The liabilities owed by Castle Hills
          Motors are in excess of one million dollars, so the Debtor estimates the value of this company at zero.
         The value of Castle Hills Financing is based on the lack of operations and assets of the business. The
          company has not operated since the end of 2020, and it has no assets.

 All other assets of Flex Capital have de minimis value. Flex Capital has no cash or outstanding receivables other
 than approximately $2,500 for the October billings. Without Debtor managing and operating Flex Capital, it would
 have no value as a going concern.



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        Total Assets                                                         $87,231.23
        EXPENSES OF LIQUIDATION
        Administrative Expenses
                Chapter 11
                Chapter 11 Debtor’s Counsel                                  $5,000.00
                Subchapter V Trustee Fees                                    $5,000.00


        Chapter 7
                Trustee’s Fee                                                $7,612.00
                Trustee’s Attorney’s Fees                                    $4,500.00
                Trustee’s Accounting Fees                                    $3,000.00
        Total Administrative Expenses                                        $15,112.00


 TOTAL EXPENSES OF LIQUIDATION                                               $25,112.00
 ESTIMATED PAYMENT TO UNSECURED CREDITORS                                    $62,119.23
        ($87,231.23 in assets less $25,112.00 in liquidation expenses = $62,119.23)
 Based on the above assets and liabilities, allowed unsecured creditors would receive a substantially
 smaller distribution in a Chapter 7 liquidation as compared to a pro rata distribution of $90,000.00
 under the Debtor’s Plan. Further, no distributions in a Chapter 7 liquidation would likely be made
 for at least a year due to the inability to immediately liquidate the Debtor’s 50% interest in the
 restricted stock. Further, Debtor has not received the tax refunds referenced above as it appears
 the Internal Revenue Service is still assessing the tax. This is in contrast with the Debtor’s Plan
 that proposes to begin making payments to general unsecured creditors within 30 days of the
 Effective Date of Debtor’s confirmed Plan.

                                       VII.   DEFINITIONS

        The capitalized terms used herein shall have the respective meanings set forth below:

         (a)    “Ad Valorem Taxing Claim” shall mean any Claim of a governmental entity
 entitled by law to assess taxes on property based upon the value of such property which taxes are
 secured by a statutory Lien to secure the payment of such taxes, penalties and interest accruing
 thereon.
         (b)    “Administrative Claim” shall mean a Claim entitled to priority under sections
 503[b] and 507[a][1] of the Bankruptcy Code in the Chapter 11 Case of the Debtor.



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         (c)     “Allowed” when used with respect to any Claim, except for a Claim that is an
 Administrative Claim, shall mean [1] such Claim to the extent it is not a Contested Claim; [2] such
 Claim to the extent it may be set forth pursuant to any stipulation or agreement that has been
 approved by Final Order; or [3] a Contested Claim, proof of which was filed timely with the
 Bankruptcy Court and [A] as to which no objection was filed by the Objection Deadline, unless
 such Claim is to be determined in a forum other than the Bankruptcy Court, in which case such
 Claim shall not become Allowed until determined by Final Order of such other forum and Allowed
 by Final Order of the Bankruptcy Court; or [B] as to which an objection was filed by the Objection
 Deadline, to the extent Allowed by Final Order.
         (d)      “Ballot” shall mean the Ballot to be used by creditors to cast their votes to accept
 or reject the Plan.
         (e)     “Balloting Agent” shall mean Debtor’s counsel, as agent.
         (f)     “Bankruptcy Code” shall mean the Bankruptcy Reform Act of 1978, as amended,
 and codified at title 11 of the United States Code.
         (g)     “Bankruptcy Court” shall mean the Bankruptcy Court for the Northern District of
 Texas, Dallas Division.
         (h)     “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure, as
 prescribed by the United States Supreme Court pursuant to section 2075 of title 28 of the United
 States Code.
         (i)     “BHPH” means Buy Here-Pay Here.
         (j)     “Business Day” shall mean any day on which commercial banks are open for
 business in Dallas, Texas.
         (k)     “Castle Hills Motors” shall mean Castle Hills Motors, LLC
         (l)     “Castle Hills Financing” shall mean Castle Hills Financing, LLC
         (m)     “Cash” shall mean legal tender of the United States of America or short-term liquid
 investments that are readily convertible to known amounts of legal tender of the United States of
 America and which present an insignificant risk of changes in value.
         (n)     “Cause of Action” shall mean any action, claim, cause of action, controversy,
 demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
 account, defense, offset, power, privilege, license, and franchise of any kind or character
 whatsoever, whether known or unknown, contingent or non-contingent, matured or unmatured,
 suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
 unsecured, assertible directly, derivatively, or in a representative suit, whether arising before, on,
 or after the Petition Date, in contract or in tort, in law, or in equity or pursuant to any other theory
 of law. For the avoidance of doubt, “Cause of Action” includes: (a) any right of setoff,
 counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed
 by law or in equity; (b) the right to object to Claims; (c) any Claim pursuant to section 362 or
 chapter 5 of the Bankruptcy Code; (d) any equitable remedy, including, without limitation, any
 claim for equitable subordination, equitable disallowance, or unjust enrichment; (e) any claim or
 defense including fraud, mistake, duress, and usury, and any other defenses set forth in section 558
 of the Bankruptcy Code; and (f) any cause of action or claim arising under any state or foreign law
 fraudulent transfer or similar claim.
         (o)     “Chapter 5” shall mean chapter 5 of the Bankruptcy Code.
         (p)     “Chapter 11 Case” shall mean the case of the Debtor commenced under chapter
 11 of the Bankruptcy Code on the Petition Date.



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          (q)     “Collateral” shall mean any property of the Debtor subject to a valid, enforceable
 and non-avoidable Lien to secure the payment of a Claim (as defined in section 101(5) of the
 Bankruptcy Code).
          (r)     “Confirmation Date” shall mean the date on which the Clerk of the Bankruptcy
 Court enters the Confirmation Order.
          (s)     “Confirmation Hearing” shall mean the date on which the Bankruptcy Court holds
 the hearing[s] on confirmation of the Plan.
          (t)     “Confirmation Order” shall mean the order of the Bankruptcy Court confirming
 the Plan.
          (u)     “Contested” when used with respect to a Claim, shall mean a Claim against the
 Debtor [1] that is listed in the Debtor’s Schedules as disputed, contingent or unliquidated; [2] that
 is listed in the Debtor’s Schedules as undisputed, liquidated and not contingent and as to which a
 proof of Claim has been filed with the Bankruptcy Court, to the extent the proof of Claim amount
 exceeds the scheduled amount; [3] that is not listed in the Debtor’s Schedules, but as to which a
 proof of Claim has been filed with the Bankruptcy Court and to which an objection has been filed
 or [4] that is the subject of a defense provided under section 502 of the Bankruptcy Code.
 Notwithstanding the foregoing, after the Objection Deadline, only Claims to which an Objection
 has been filed shall be deemed Contested Claims.
          (v)     “Contested Claim Reserve” shall mean the reserve accounts established pursuant
 to this Plan for funding Contested Claims if such Claims are ultimately allowed by Final Order
 and which are to be held pending resolution of Contested Claims by the entry of a Final Order
 allowing or disallowing such Contested Claim[s].
          (w)     “Contracts” shall mean all executory contracts and unexpired leases as such terms
 are used within Bankruptcy Code section 365 to which the Debtor was a party as of the Petition
 Date.
          (x)     “Convenience Claim” Shall mean any General Unsecured Claim which is Allowed
 in the amount of $500.00 or less, or for which the holder of such General Unsecured Claim agrees
 to the Allowance of such Claim in the amount of $500.00 or less.
          (y)     “Cure Payment” shall be the monetary payments required pursuant to Bankruptcy
 Code section 365[b][1][A] to cure defaults under Contracts to which the Debtor is a party and
 which will be assumed pursuant to the Plan. Such Cure Payment shall be conclusively determined
 and set for all such Contracts at the Confirmation Hearing.
          (z)     “Debtor” shall mean Ryan Nicholas Weiss.
          (aa)     “Disallowed,” when used with respect to a Claim, shall mean a Claim that has been
 disallowed by Final Order.
          (bb) “Effective Date” shall mean a Business Day selected by the Distribution Agent, as
 the case may be, not to exceed sixty [60] days after the Confirmation Date.
          (cc)     “Estimated Amount” shall mean the maximum amount at which the Bankruptcy
 Court or, where required by applicable law, the District Court, estimates any Claim [or class of
 Claims] against Debtor which is contingent, unliquidated or disputed, including, for the purpose
 of: [a] distribution under § 502[c], Bankruptcy Code; [b] determining the feasibility of this Plan
 pursuant to § 1129[a][11], Bankruptcy Code for purposes of its Confirmation; or [c] voting to
 accept or reject this Plan pursuant to Bankruptcy Rule 3018[a].
          (dd) “Estimation Order” means an Order of the Bankruptcy Court or, where required
 by applicable law, the District Court, that determines the Estimated Amount of any Claim [or class
 of Claims], against Debtor for any of the purposes as provided in this Plan.

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          (ee) “Fee Application” shall mean an application of a Professional Person under section
 330 or 503 of the Bankruptcy Code for allowance of compensation and reimbursement of expenses
 in the Chapter 11 Case.
          (ff)    “Fee Claim” shall mean a Claim under section 330 or 503 of the Bankruptcy Code
 for allowance of compensation and reimbursement of expenses in the Chapter 11 Case.
          (gg) “Final Order” shall mean [1] an order which has been entered and as to which the
 time to appeal, petition for certiorari or move for reargument or rehearing has expired and as to
 which no appeal, petition for certiorari or other proceedings for reargument or rehearing shall then
 be pending or [2] in the event that an appeal, writ of certiorari, reargument or rehearing thereof
 has been sought, such order shall have been affirmed by the highest court to which such order was
 appealed, or certiorari has been denied or from which reargument or rehearing was sought, and the
 time to take any further appeal, petition for certiorari or move for reargument or rehearing shall
 have expired; provided, however, that no order shall fail to be a Final Order solely because of the
 possibility that a motion pursuant to Rule 60 of the Federal Rules of Civil Procedure may be filed
 with respect to such order.
          (hh) “Flex Capital” shall mean Flex Capital Investments, LLC.
          (ii)    “General Unsecured Claim” shall mean any Claim against the Debtor that is not
 a Secured Claim, an Administrative Claim, or a Priority Claim.
          (jj)    “Interest” shall mean any right in the Debtor represented by an “equity security,”
 as defined on section 101[16] of the Bankruptcy Code, or any right to acquire such an “equity
 security.”
          (kk) “IRS” shall mean the United States Department of Treasury or the Internal Revenue
 Service.
          (ll)    “Objection Deadline” shall mean the date by which objections to Claims shall be
 filed with the Bankruptcy Court and served upon the respective holders of each of the Claims.
          (mm) “Petition Date” shall mean September 23, 2021.
          (nn) “Plan” or “Plan of Reorganization” shall mean this Plan of Reorganization, either
 in its present form or as it may hereafter be altered, amended or modified from time to time.
          (oo) “Priority Claim” shall mean a Claim of the kind specified in section 507[a][2] –
 [a][10] of the Bankruptcy Code.
          (pp)     “Pro Rata Share” shall mean the proportion that (a) the Allowed amount of a
 Claim in a particular Class (or several Classes taken as a whole) bears to (b) the aggregate Allowed
 amount of all Claims in such Class (or several Classes taken as a whole), unless this Plan expressly
 provides otherwise.
          (qq) “Professional Person” shall mean a person retained or to be compensated pursuant
 to section 327, 328, 330, 503[b] or 1103 of the Bankruptcy Code.
          (rr)    “Reorganized Debtor” shall mean the Debtor, as reorganized, on and after the
 Effective Date.
          (ss)    “Schedules” shall mean the Schedules of assets and liabilities and the statements
 of financial affairs filed by the Debtor as required by section 521 of the Bankruptcy Code and
 Bankruptcy Rule 1007, as such Schedules and statements have been or may be supplemented or
 amended.
          (tt)    “Secured Claim” shall mean a Claim secured by a Lien on property of the Debtor,
 which Lien is valid, perfected and enforceable under applicable law, is not subject to avoidance
 under the Bankruptcy Code or other applicable non-bankruptcy law and which is duly established
 in the Chapter 11 Case, but only to the extent of the value of the Collateral that secures payment


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 of such Claim.
         (uu) “SBA” shall mean the U.S. Small Business Administration.
         (vv) “Substantial Consummation” shall mean when the first payment has been made
 and after administrative expenses and claims objections are heard. Upon substantial
 consummation, the Reorganized Debtor shall file an Application for a Final Decree.
         (ww) “Unsecured Claim” shall mean a Claim other than a Secured Claim.
         (xx) “Voting Deadline” shall mean the date set by the Bankruptcy Court by which
 Ballots for accepting or rejecting the Plan must be received by the Balloting Agent.

        Words and terms defined in section 101 of the Bankruptcy Code shall have the same
 meaning when used in the Plan, unless a different definition is given in the Plan. The rules of
 construction contained in section 102 of the Bankruptcy Code shall apply to the construction of
 the Plan. Furthermore, the Plan shall be liberally construed for the benefit of the Debtor and
 Reorganized Debtor regarding the interchangeableness of the term “Debtor” with the term
 “Reorganized Debtor” and other instances of the use “Reorganized.”

 Respectfully submitted on this 8th day of November, 2021.


 By: /s/ Ryan Nicholas Weiss
    Ryan Nicholas Weiss


                                            Respectfully submitted,

                                            By: /s/ Areya Holder Aurzada
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